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            United States Court of International Trade
Honorable Mark A. Barnett, Claire R. Kelly and Jennifer Choe-Groves

                            Appearance Sheet

Docket No. 21-00052
April 26, 2021 – Status Conference via Webex
9:30 a.m.
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Jurisdiction 1581(i)


                       In Re Section 301 Cases


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